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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN


L.A., a legally incapacitated Minor, by
and through his Mother and Next Friend      Civil No. 21-12050
KIERSTEN REESER, KIERSTEN
RESSER, individually, JEREMY                Hon. Robert H. Cleland
ARMSTRONG, Individually,                    Mag. Judge David R. Grand


            Plaintiffs,

      v.

UNITED STATES OF AMERICA, and
W.A. FOOTE MEMORIAL HOSPITAL
a/k/a HENRY FORD ALLEGIANCE
HEALTH and CHARLES EDWARD
ROLLISON, D.O., and RONALD
NICHOLS, M.D., and ALMA GARLO,
M.D.

            Defendants.
                                     /

       UNITED STATES’ ANSWER TO PLAINTIFFS’ COMPLAINT
                      AND JURY DEMAND


      The United States of America, by and through its attorneys Saima S.

Mohsin, Acting United States Attorney for the Eastern District of Michigan, Zak

Toomey, Assistant U.S. Attorney, and Chris Doyle, Assistant U.S. Attorney,

answers the complaint as follows:
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                           GENERAL ALLEGATIONS

      1.     The allegations in Paragraph 1 consist of legal conclusions to which

no response is required. To the extent any response is required, Defendant United

States denies the allegations in Paragraph 1.

      2.     Defendant United States is without knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 2 and,

therefore, denies the allegations in Paragraph 2.

      3.     Defendant United States is without knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 3 and,

therefore, denies the allegations in Paragraph 3.

      4.     Admit.

      5.     Defendant United States is without knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 5 and,

therefore, denies the allegations in Paragraph 5.

      6.     Defendant United States is without knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 6 and,

therefore, denies the allegations in Paragraph 6.

      7.     The allegations in Paragraph 7 consist of legal conclusions to which

no response is required. To the extent any response is required, Defendant United

States denies the allegations in Paragraph 7.


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      8.     Paragraph 8 relates to another defendant, and, as such, Defendant

United States lacks knowledge or information sufficient to form a belief about the

truth of the allegation and, therefore, denies the allegations in Paragraph 8.

      9.     Admit.

      10.    Paragraph 10 relates to another defendant, and, as such, Defendant

United States lacks knowledge or information sufficient to form a belief about the

truth of the allegation and, therefore, denies the allegations in Paragraph 10.

      11.    Paragraph 11 relates to another defendant, and, as such, Defendant

United States lacks knowledge or information sufficient to form a belief about the

truth of the allegation and, therefore, denies the allegations in Paragraph 11.

      12.    Paragraph 12 relates to another defendant, and, as such, Defendant

United States lacks knowledge or information sufficient to form a belief about the

truth of the allegation and, therefore, denies the allegations in Paragraph 12.

      13.    Paragraph 13 relates to another defendant, and, as such, Defendant

United States lacks knowledge or information sufficient to form a belief about the

truth of the allegation and, therefore, denies the allegations in Paragraph 13.

      14.    Paragraph 14 relates to another defendant, and, as such, Defendant

United States lacks knowledge or information sufficient to form a belief about the

truth of the allegation and, therefore, denies the allegations in Paragraph 14.


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      15.    Paragraph 15 relates to another defendant, and, as such, Defendant

United States lacks knowledge or information sufficient to form a belief about the

truth of the allegation and, therefore, denies the allegations in Paragraph 15.

      16.    Admit.

      17.    Defendant United States denies that Dr. Kingsley treated Plaintiff

Kiersten Reeser at Foote Memorial Hospital a/k/a Henry Ford Allegiance Health.

Defendant admits the remaining allegations in Paragraph 17.

      18.    Admit.

      19.    Admit.

      20.    Admit.

      21.    Admit.

      22.    Defendant United States admits that the Center for Family Health and

its employees Joanne Kingsley, M.D., Dana Virgo, M.D., and Monica Hill, M.D.,

are deemed to be federal employees under the Federally Supported Health Centers

Assistance Act, 42 U.S.C. § 233(k), and, as such, are eligible for Federal Tort

Claims Act (“FTCA”) coverage with regard to allegations of medical malpractice.

Defendant United States further admits that Dr. Kingsley, Dr. Virgo, and Dr. Hill

treated Plaintiff Reeser within the course and scope of their employment with the

Center for Family Health and are deemed to be employees of the Public Health

Service of Defendant United States. Defendant United States denies it is subject to


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the common law doctrine of vicarious liability and avers that the Federal Tort

Claims Act is the exclusive source of relief for persons allegedly injured by a

federal employee acting within the course and scope of such employment.

Defendant denies the remaining allegations in Paragraph 22.

      23.    Defendant United States admits that the care of Plaintiff Reeser and

L.A. took place within this judicial district but denies that such care was negligent.

      24.    Answering paragraph 24, Defendant admits that the U.S. Department

of Health and Human Services (“DHHS”) received three administrative tort claims,

one for each of the three named Plaintiffs, on November 30, 2020, which the

Plaintiffs subsequently amended on December 17, 2020. DHHS denied the

administrative claims on August 17, 2021.

      25.    The allegations in Paragraph 25 consist of legal conclusions to which

no response is required. To the extent any response is required, Defendant United

States denies the allegations in Paragraph 25.

      26.    Defendant United States denies that Plaintiffs are entitled to damages

in excess of $75,000. Defendant United States admits that Plaintiffs seek damages

in excess of that amount in this case.

      27.    Paragraph 27 relates to another defendant, and, as such, Defendant

United States lacks knowledge or information sufficient to form a belief about the

truth of the allegation and, therefore, denies the allegations in Paragraph 27.


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      28.    Paragraph 28 relates to another defendant, and, as such, Defendant

United States lacks knowledge or information sufficient to form a belief about the

truth of the allegation and, therefore, denies the allegations in Paragraph 28.

      29.    Defendant United States is without knowledge or information

sufficient to form a belief as to the truth of the allegations in Paragraph 29 and,

therefore, defendant denies the allegations in Paragraph 29.

      30.    Paragraph 30 relates to another defendant, and, as such, Defendant

United States lacks knowledge or information sufficient to form a belief about the

truth of the allegation and, therefore, denies the allegations in Paragraph 30.

      31.    Paragraph 31 relates to another defendant, and, as such, Defendant

United States lacks knowledge or information sufficient to form a belief about the

truth of the allegation and, therefore, denies the allegations in Paragraph 31.

      32.    Paragraph 32 relates to another defendant, and, as such, Defendant

United States lacks knowledge or information sufficient to form a belief about the

truth of the allegation and, therefore, denies the allegations in Paragraph 32.

      33.    Defendant United States admits that the Center for Family Health and

its employees Joanne Kingsley, M.D., Dana Virgo, M.D., and Monica Hill, M.D.,

were acting within the course and scope of their deemed federal employment with

a federally-funded community health clinic when treating Plaintiff Reeser and L.A.

Defendant United States denies the remaining allegations.


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      34.    Defendant United States admits that Dana Virgo, M.D., and Monica

Hill, M.D., provided care to Defendant Reeser when she was at the Hospital.

Defendant denies that Joanne Kingsley, M.D., provided care to Plaintiff Reeser at

the hospital and denies that the other listed providers were employees or agents of

the Center for Family Health or the United States. Defendant denies the remaining

allegations in Paragraph 34.

      35.    Defendant admits that the Center for Family Health and its employees

Joanne Kingsley, M.D., Dana Virgo, M.D., and Monica Hill, M.D., formed

provider-patient relationships with Plaintiff Reeser with any attendant legal duties

that arise out of same. Defendant United States denies that the United States can be

held liable for the actions of any other listed providers. Defendant United States

denies that the theory of respondeat superior applies to the federal government

under the FTCA. The United States denies the remaining allegations in Paragraph

35.

      36.    Defendant United States answers that Plaintiff Reeser had risk factors

of hypertension and obesity during her pregnancy and that routine fetal non-stress

testing of Baby L.A. was performed starting at 32 weeks, most of which were

noted to be reactive. Defendant United States denies the remaining allegations in

Paragraph 36.




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      37.    Defendant United States answers that Dr. Kristie Keeton, a maternal-

fetal medicine specialist, recommended that Plaintiff Reeser to deliver at 38 to 39

weeks if her blood pressure remained controlled without medication. Defendant

United States denies the remaining allegations in Paragraph 37.

      38.    Admit.

      39.    Admit.

      40.    Defendant United States admits that on June 5, 2019, Plaintiff Reeser

saw Dr. Alma Garlo and that on June 7, 2019, Plaintiff Reeser saw Dr. Joanne

Kingsley. Defendant United States denies the standard of care required induction

on those two dates and answers that induction had been previously scheduled for

June 10, 2019, at 39w2d gestation by her primary obstetrician, within the period of

38 to 39 weeks recommended by Dr. Keeton.

      41.    Admit.

      42.    Admit.

      43.    Deny.

      44.    Upon information and belief, Defendant United States admits.

      45.    Upon information and belief, Defendant United States admits.

      46.    Defendant United States admits that Paragraph 46 partially quotes the

findings noted in the history and physical documented by Dr. Virgo. Defendant




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United States denies that Paragraph 46 contains the entire record of Plaintiff

Reeser’s visit on that date.

      47.    Paragraph 47 quotes from a medical record written by a nurse that was

not employed or controlled by the United States. Defendant United States admits

that Paragraph 47 quotes a portion of Plaintiffs’ medical records. Defendant United

States lacks knowledge or information sufficient to form a belief about the truth of

the remaining allegations in Paragraph 47 and, therefore, denies those allegations.

      48.    Paragraph 48 relates to the actions of a non-party for whom Defendant

United States is not responsible, and, as such, Defendant United States lacks

knowledge or information sufficient to form a belief about the truth of the

allegation and, therefore, denies the allegations in Paragraph 48.

      49.    Paragraph 49 relates to the actions of a non-party for whom Defendant

United States is not responsible, and, as such, Defendant United States lacks

knowledge or information sufficient to form a belief about the truth of the

allegations and, therefore, denies the allegations in Paragraph 49.

      50.    Paragraph 50 quotes from a medical record written by a nurse that was

not employed or controlled by the United States. Defendant United States admits

that Paragraph 50 quotes a portion of Plaintiffs’ medical records. Defendant United

States lacks knowledge or information sufficient to form a belief about the truth of

the remaining allegations in Paragraph 50 and, therefore, denies those allegations.


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       51.    Paragraph 51 quotes from a medical record written by a nurse that was

 not employed or controlled by the United States. Defendant United States admits

 that Paragraph 51 quotes a portion of Plaintiffs’ medical records. Defendant United

 States lacks knowledge or information sufficient to form a belief about the truth of

 the remaining allegations in Paragraph 51 and, therefore, denies those allegations.

       52.    Paragraph 52 quotes from a medical record written by a nurse that was

 not employed or controlled by the United States. Defendant United States admits

 that Paragraph 52 quotes a portion of Plaintiffs’ medical records. Defendant United

 States lacks knowledge or information sufficient to form a belief about the truth of

 the remaining allegations in Paragraph 52 and, therefore, denies those allegations.

       53.    Paragraph 53 quotes from a medical record written by a nurse that was

 not employed or controlled by the United States. Defendant United States admits

 that Paragraph 53 quotes a portion of Plaintiffs’ medical records. Defendant United

 States lacks knowledge or information sufficient to form a belief about the truth of

 the remaining allegations in Paragraph 53 and, therefore, denies those allegations.

       54.    Paragraph 54 relates to the actions of a non-party for whom Defendant

 United States is not responsible, and, as such, Defendant United States lacks

 knowledge or information sufficient to form a belief about the truth of the

 allegations and, therefore, denies the allegations in Paragraph 54.




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       55.    Paragraph 55 relates to the actions of a non-party for whom Defendant

 United States is not responsible, and, as such, Defendant United States lacks

 knowledge or information sufficient to form a belief about the truth of the

 allegations and, therefore, denies the allegations in Paragraph 55.

       56.    Paragraph 56 relates to the actions of a non-party for whom Defendant

 United States is not responsible, and, as such, Defendant United States lacks

 knowledge or information sufficient to form a belief about the truth of the

 allegations and, therefore, denies the allegations in Paragraph 56.

       57.    Paragraph 57 relates to the actions of a non-party for whom Defendant

 United States is not responsible, and, as such, Defendant United States lacks

 knowledge or information sufficient to form a belief about the truth of the

 allegations and, therefore, denies the allegations in Paragraph 57.

       58.    Defendant United States admits that Paragraph 58 partially quotes

 from a record authored by Dr. Hill.

       59.    Defendant United States admits that records indicate L.A. was born at

 9:07am at approximately 39w4d gestation and weighed 3780g. Defendant United

 States lacks information to determine L.A.’s head circumference at birth at this

 time and, therefore, denies the allegation.

       60.    Defendant United States admits that records indicate that L.A.’s

 Apgar scores were 2, 2, 2, 3. Defendant United States is not aware of a record


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 describing L.A. as “depressed, flaccid, apneic, bradycardic, with no spontaneous

 respirations, and with no reflexes” and, therefore, denies those allegations.

       61.    Defendant United States admits that records indicate that L.A.

 required resuscitation including tactile stimulation, positive pressure ventilation,

 and intubation. Defendant denies that the records characterize L.A.’s resuscitation

 as “aggressive.”

       62.    Defendant admits that records show cord pH 6.8, HCO3 17.5, and

 base excess -24. Defendant lacks knowledge or information sufficient to form a

 belief about the truth of the remaining allegations in Paragraph 62. Defendant

 United States denies that these readings are “reflective of significant metabolic

 acidosis.”

       63.    Admit.

       64.    Defendant United States is without knowledge or information

 sufficient to form a belief as to the truth of the allegations in Paragraph 64 and,

 therefore, denies the allegations in Paragraph 64.

       65.    Defendant United States is without knowledge or information

 sufficient to form a belief as to the truth of the allegations in Paragraph 65 and,

 therefore, denies the allegations in Paragraph 65.




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       66.    Defendant United States is without knowledge or information

 sufficient to form a belief as to the truth of the allegations in Paragraph 66 and,

 therefore, denies the allegations in Paragraph 66.

       67.    Defendant United States is without knowledge or information

 sufficient to form a belief as to the truth of the allegations in Paragraph 67 and,

 therefore, denies the allegations in Paragraph 67.

       68.    Deny.

       69.    Deny.

       70.    Deny.

       71.    Deny.

       72.    Deny.

       73.    Deny.

       74.    Deny.

                                    COUNT I
                       Medical Negligence – Defendant USA

       75.    In Paragraph 75, Plaintiffs do not assert any allegations, but only re-

 incorporate their previous allegations. Accordingly, Defendant United States

 incorporates its responses to each Paragraph referenced in Paragraph 75. To the

 extent any further response is necessary, Defendant United States denies the

 allegations in Paragraph 75.



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       76.    Answering paragraph 76, Defendant denies as stated and avers that

 the Center for Family Health and its employees Joanne Kingsley, M.D., Dana

 Virgo, M.D., and Monica Hill, M.D., are deemed to be employees of the Public

 Health Service of DHHS eligible for FTCA coverage and provided medical

 services within Jackson County, Michigan.

       77.    Defendant United States admits that the Center for Family Health and

 its employees Joanne Kingsley, M.D., Dana Virgo, M.D., and Monica Hill, M.D.,

 undertook the treatment of Reeser and her unborn infant. Defendant denies the

 remaining allegations in Paragraph 77 and denies that it can be held liable for the

 actions of the other listed providers.

       78.    Defendant United States admits that the Center for Family Health’s

 employees, Joanne Kingsley, M.D., Dana Virgo, M.D., and Monica Hill, M.D.,

 had formed provider-patient relationships with Plaintiff Reeser. Defendant United

 States denies the remaining allegations in Paragraph 78.

       79.    Deny.

       80.    Deny.

       81.    Deny.

       82.    Deny.

       83.    Deny.

       84.    Deny.


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       85.    Deny.

       86.    Deny.

       87.    Deny.

                                    COUNT II
                      Medical Negligence – Defendant Hospital

       88.    In Paragraph 88, Plaintiffs do not assert any allegations, but only re-

 incorporate their previous allegations. Accordingly, Defendant United States

 incorporates its responses to each Paragraph referenced in Paragraph 88. To the

 extent any further response is necessary, Defendant United States denies the

 allegations in Paragraph 88.

       89.    Paragraph 89 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 89.

       90.    Paragraph 90 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 90.

       91.    Paragraph 91 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 91.




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       92.    Paragraph 92 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 92.

       93.    Paragraph 93 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 93.

       94.    Paragraph 94 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 94.

       95.    Paragraph 95 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 95.

       96.    Paragraph 96 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 96.

       97.    Paragraph 97 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 97.




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       98.    Paragraph 98 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 98.

       99.    Paragraph 99 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 99.

       100. Paragraph 100 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 100.

                                   COUNT III
                      Medical Negligence – Defendant Nichols

       101. In Paragraph 101, Plaintiffs do not assert any allegations, but only re-

 incorporate their previous allegations. Accordingly, Defendant United States

 incorporates its responses to each Paragraph referenced in Paragraph 101. To the

 extent any further response is necessary, Defendant United States denies the

 allegations in Paragraph 101.

       102. Paragraph 102 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 102.




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       103. Paragraph 103 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 103.

       104. Paragraph 104 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 104.

       105. Paragraph 105 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 105.

       106. Paragraph 106 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 106.

       107. Paragraph 107 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 107.

       108. Paragraph 108 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 108.




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       109. Paragraph 109 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 109.

       110. Paragraph 110 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 110.

       111. Paragraph 111 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 111.

       112. Paragraph 112 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 112.

       113. Paragraph 113 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 113.

                                   COUNT IV
                     Medical Negligence – Defendant Rollison

       114. In Paragraph 114, Plaintiffs do not assert any allegations, but only re-

 incorporate their previous allegations. Accordingly, Defendant United States

 incorporates its responses to each Paragraph referenced in Paragraph 114. To the



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 extent any further response is necessary, Defendant United States denies the

 allegations in Paragraph 114.

       115. Paragraph 115 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 115.

       116. Paragraph 116 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 116.

       117. Paragraph 117 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 117.

       118. Paragraph 118 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 118.

       119. Paragraph 119 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 119.

       120. Paragraph 120 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 120.


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       121. Paragraph 121 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 121.

       122. Paragraph 122 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 122.

       123. Paragraph 123 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 123.

       124. Paragraph 124 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 124.

       125. Paragraph 125 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 125.

       126. Paragraph 126 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 126.




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                                   COUNT V
                      Medical Negligence – Defendant Garlo

       127. In Paragraph 127, Plaintiffs do not assert any allegations, but only re-

 incorporate their previous allegations. Accordingly, Defendant United States

 incorporates its responses to each Paragraph referenced in Paragraph 127. To the

 extent any further response is necessary, Defendant United States denies the

 allegations in Paragraph 127.

       128. Paragraph 128 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 128.

       129. Paragraph 129 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 129.

       130. Paragraph 130 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 130.

       131. Paragraph 131 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 131.




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       132. Paragraph 132 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 132.

       133. Paragraph 133 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 133.

       134. Paragraph 134 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 134.

       135. Paragraph 135 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 135.

       136. Paragraph 136 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 136.

       137. Paragraph 137 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 137.




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       138. Paragraph 138 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 138.

       139. Paragraph 139 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 139.

                                  COUNT VII
 Negligent Selection, Retention, Training, & Supervision – Defendant Hospital

       140. In Paragraph 140, Plaintiffs do not assert any allegations, but only re-

 incorporate their previous allegations. Accordingly, Defendant United States

 incorporates its responses to each Paragraph referenced in Paragraph 140. To the

 extent any further response is necessary, Defendant United States denies the

 allegations in Paragraph 140.

       141. Paragraph 141 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 141.

       142. Paragraph 142 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 142.




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       143. Paragraph 143 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 143.

       144. Paragraph 144 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 144.

       145. Paragraph 145 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 145.

       146. Paragraph 146 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 146.

       147. Paragraph 147 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 147.

       148. Paragraph 148 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 148.




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       149. Paragraph 149 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 149.

       150. Paragraph 150 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 150.

       151. Paragraph 151 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 151.

       152. Paragraph 152 relates to another defendant, and, as such, Defendant

 United States lacks knowledge or information sufficient to form a belief about the

 truth of the allegation and, therefore, denies the allegations in Paragraph 152.

                                  COUNT VII
   Negligent Selection, Retention, Training, & Supervision – Defendant USA

       153. In Paragraph 153, Plaintiffs do not assert any allegations, but only re-

 incorporate their previous allegations. Accordingly, Defendant United States

 incorporates its responses to each Paragraph referenced in Paragraph 153. To the

 extent any further response is necessary, Defendant United States denies the

 allegations in Paragraph 153. Additionally, with respect to Count VII, Plaintiffs

 and the United States have stipulated to a voluntary dismissal of Count VII and



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 submitted a stipulated order dismissing Count VII to the Court using the ECF

 Proposed Orders inbox on November 9, 2021.

       154. Deny.

       155. Deny.

       156. Deny.

       157. Deny.

       158. Deny.

       159. Deny.

       160. Deny.

       161. Deny.

       162. Deny.

       163. Deny.

       164. Deny.

       165. Deny.

       The remainder of Plaintiffs’ Complaint in the paragraph beginning

 “WHEREFORE” sets forth a Prayer for Relief for which no response is required.

 To the extent that the Court requires a response, Defendant United States denies all

 allegations of negligence set forth in the Complaint and denies Plaintiff’s Prayer

 for Relief.




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       Regarding Plaintiffs demand for a trial by jury, Defendant United States

 answers that Plaintiffs are not entitled to a jury trial for its claims against

 Defendant United States. 28 U.S.C. § 2402.

                   Defendant United States’ Statement Regarding
                         Affidavit of Meritorious Defense

       The state-law procedural requirements of M.C.L. § 600.2912e do not apply

 in federal court; therefore, defendant is not required to submit an affidavit of

 meritorious defense with its Answer in this case. See Gallivan v. United States, 943

 F.3d 291, 292 (6th Cir. 2019).

                   Defendant United States’ Affirmative Defenses

                                    FIRST DEFENSE

       Plaintiffs’ Complaint fails to state a claim upon which relief may be granted.

                                  SECOND DEFENSE

       The alleged injuries or damages, or both, alleged in the Complaint were not

 proximately caused by a negligent act or omission of an employee of the United

 States acting within the scope and course of his or her employment, or by the

 United States.

                                   THIRD DEFENSE

       In the event Defendant United States is found to have breached the standard

 of care, which breach Defendant denies, such a breach was not the cause in fact or

 proximate cause of alleged damages suffered by the Plaintiffs.
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                                 FOURTH DEFENSE

       Plaintiffs did not suffer any injuries as a result of Defendant United States’

 allegedly negligent conduct.

                                   FIFTH DEFENSE

      The United States, through its employees and agents, acted within the

 standard of care at all relevant times.

                                   SIXTH DEFENSE

       Plaintiffs’ injuries and damages, in whole or in part, were caused by

 Plaintiffs’ own negligent acts or omissions, M.C.L. § 600.2959, or those of others

 over whom the federal government had no control, and for which the United States

 may not be held liable. M.C.L. § 600.2957; M.C.R. 2.112(K)(2).

                                 SEVENTH DEFENSE

       Any award must be diminished by Plaintiffs’ failure to mitigate their

 damages.

                                  EIGHTH DEFENSE

       Plaintiffs’ claims directed at Defendant United States’ staffing levels,

 organizational structure, structure of care, hiring, training, retention, review of

 hospital staff or the conduct of hospital staff, or supervision of medical personnel

 are barred by the FTCA’s discretionary function exception. 28 U.S.C. § 2680(a).




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                                  NINTH DEFENSE

       Plaintiffs’ claims are barred by the FTCA’s statute of limitations. 28 U.S.C.

 § 2401(b).

                                 TENTH DEFENSE

       Plaintiffs have failed to join an indispensable party. Fed. R. Civ. P. 19.

                               ELEVENTH DEFENSE

       Plaintiffs’ claim for damages is limited to damages recoverable under

 28 U.S.C. § 2674 and M.C.L. § 600.1483.

                                TWELFTH DEFENSE

       Any recovery by Plaintiffs is subject to the availability of appropriated

 funds. 42 U.S.C. § 233(k).

                              THIRTEENTH DEFENSE

       To the extent that any of Plaintiffs’ claims were not the subject of an

 administrative tort claim, this court lacks jurisdiction over those claims. 28 U.S.C.

 § 2675(a).

                              FOURTEENTH DEFENSE

       Plaintiffs’ damages, if any, are limited to the amount set forth in Plaintiffs’

 administrative claims. 28 U.S.C. § 2675(b).

                               FIFTEENTH DEFENSE

       Plaintiffs have no right to a jury trial. 28 U.S.C. § 2402.


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                                SIXTEENTH DEFENSE

       Plaintiffs’ non-economic damages, if any, may not exceed the statutory cap

 set forth in Michigan Compiled Laws § 600.1483.

                             SEVENTEENTH DEFENSE

       Defendant is entitled to an offset for any benefits paid to or on behalf of

 Plaintiffs by any agency of the United States, such as Veterans Benefits, Medicare,

 Social Security, military health benefits, tax benefits, etc. provided to Plaintiffs as

 a result of their claimed losses.

                              EIGHTEENTH DEFENSE

       Any judgment must be reduced by the amount paid or payable by a collateral

 source. M.C.L. § 600.6303.

                              NINETEENTH DEFENSE

       If the Court awards Plaintiffs a judgment, any future damages must be

 calculated on an annual basis for the expected lifetime of Plaintiffs. M.C.L.

 § 600.6305.

                               TWENTIETH DEFENSE

       The United States may not be held Jointly and Severally Liable for the

 negligent acts of other parties or non-parties. M.C.L. § 600.6304(4); M.C.L.

 § 600.6312.




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                              TWENTY-FIRST DEFENSE

       The FTCA prohibits liability for punitive damages. 28 U.S.C. § 2674.

                          TWENTY-SECOND DEFENSE

       Any judgment must be reduced to present cash value. M.C.L. § 600.6306.

                              TWENTY-THIRD DEFENSE

       Plaintiffs are not entitled to prejudgment interest. 28 U.S.C. § 2674.

                          TWENTY-FOURTH DEFENSE

       Plaintiffs are not entitled to post-judgment interest. 28 U.S.C. § 1304(b)(1).

                              TWENTY-FIFTH DEFENSE

       Attorney’s fees taken out of any judgment or settlement are governed by

 statute. 28 U.S.C. § 2678.

                              TWENTY-SIXTH DEFENSE

       Plaintiffs’ claim is barred by their failure to provide the notice required by

 M.C.L. § 600.2912.

                          TWENTY-SEVENTH DEFENSE

       Plaintiffs’ Complaint should be stricken because it fails to conform to the

 requirement that a complaint need only include “a short and plain statement of the

 claim” as mandated by Federal Rule of Civil Procedure 8, see Moore v. Third Jud.

 Cir. of Mich., No. 08-12353, 2008 WL 4866056 (E.D. Mich. Nov. 10, 2008), and




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 because parties may not seek discovery prior to a meeting between the parties to

 discuss discovery, Fed. R. Civ. P. 26(d).

       The United States respectfully reserves the right to amend its affirmative

 defenses as additional information is acquired during discovery.

       WHEREFORE, defendant, the United States, prays for judgment in its favor,

 and that the court award such further relief as may be appropriate.

                                              Respectfully submitted,

                                              Saima S. Mohsin
                                              Acting United States Attorney

                                              /s/ Zak Toomey
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 Dated: November 16, 2021




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                         CERTIFICATION OF SERVICE

       I hereby certify that on November 16, 2021, I electronically filed the

 foregoing paper with the Clerk of the Court using the CM/ECF system, which will

 send notification to the parties who have appeared in the case.



                                           /s/ Zak Toomey
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